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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                                     )
  EXXON MOBIL CORPORATION;                           )
  EXXONMOBIL DEVELOPMENT                             )
  COMPANY; and EXXONMOBIL OIL                        )
  CORPORATION,                                       )
                                                     )
                   Plaintiffs,                       )
                                                     )
            v.                                       ) Action No. 3:17-cv-1930-B
                                                     ) The Honorable Jane Boyle
  STEVEN MNUCHIN, in his official                    ) Magistrate Judge Renee Harris Toliver
  capacity as Secretary of the U.S. Department       )
  of the Treasury; ANDREA M. GACKI, in               )
  her official capacity as the Acting Director       )
  of the United States Department of the             )
  Treasury’s Office of Foreign Assets Control;       )
  and the U.S. DEPARTMENT OF THE                     )
  TREASURY’S OFFICE OF FOREIGN                       )
  ASSETS CONTROL,                                    )
                                                     )
                   Defendants.                       )

                                       FINAL JUDGMENT

       This Judgment is issued pursuant to FED. R. CIV. P. 58(a).

       In accord with the Court’s Memorandum Opinion and Order (Doc. 110), it is ORDERED,

ADJUDGED and DECREED that:

       1.        Plaintiffs’ Motion for Summary Judgment (Doc. 92) is GRANTED and

Defendants’ Cross-Motion for Summary Judgment (Doc. 95) is DENIED.

       2.        The Court declares that the U.S. Department of the Treasury’s Office of Foreign

Assets Control’s July 20, 2017 Penalty Notice to Plaintiffs (the “Penalty Notice”) violates the

Due Process Clause of the Fifth Amendment. The Court thus VACATES the Penalty Notice.



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        3.   This is a FINAL JUDGMENT. The Clerk of the Court is directed to CLOSE

this case.

SIGNED: February 3, 2020.


                                       Jane J. Boyle
                                       United States District Judge




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